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                       IN THE UNI'I ED STATES DISTRICT COURT FOR TI
                             EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division


UNITED STATES OF AMERICA                             Criminal No. I:I^-CR-55
                                                     The Honorable Anthony J. Trenga

ZIA ZAFAR,                                           I8U.S.C. § 1116(a),(c)
                                                    (Attempted Murder of Protected Person)
               Defendant.                            18 U.S.C. § 924(c)
                                                     (Discharge Firearm in Crime Violence)

                                    STATEMENT OF FACTS


       The United States and the defendant, Zia Zafar (hereinafter,"the defendant"), agree that at

trial, the United States would have proven the following facts beyond a reasonable doubt with

admissible and credible evidence:


       1.      On or about January 6,2017, in Guadalajara, Mexico,a location outside the United

States, but within the extraterritorial jurisdiction of the United States, and pursuant to Title 18,

United States Code, Section 3238, within the venue of the United States District Court for the

Eastern District of Virginia, the defendant did knowingly arm himself with a firearm, wear a

wig and sunglasses to disguise his appearance, and follow and shoot Vice Consul Christopher

Nolan Ashcraft, an employee of the United States and an internationally protected person,

with malice aforethought, willfully, deliberately, maliciously and with premeditation.

       2.      The defendant waited for the Vice Consul in a parking garage and, after noticing

a security guard, changed his location to the vehicle exit ramp where he stood as the Vice Consul

drove to exit the garage. The defendant fired a single shot into the vehicle striking the Vice

Consul in his chest.     The bullet remains lodged in the victim's TIO vertebral body, and

metallic shrapnel remains in the right pectoral muscle. The Vice Consul sustained a serious

bodily injury from this shooting.
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